Exhibit 1
                                                                                                          GUEST COPY
                                                                                                        162 Middle Street
                                                                                                      Pawtucket RI 02860
                                                                                                         1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                     http://www.gocollette.com

Should you have any further questions, for faster service, please contact us at GroupsServices@collette.com and
provide your name, booking number and phone number.

You can find the most up to date details of your tour or make a payment by going here:
https://reservations.gocollette.com/tour-status Simply type in your booking number and last name when
prompted.




Reservation # 1259551
                                                                             Your Travel Professional:
Invoice Date: 08 Jan 2025
                                                                             Lori Reese
Bill To: Bradley Meryl Whaley                                                Bellair Tours & Adventures
                                                                             1416 Whitehorn St
          SEDRO WOOLLEY WA                                                   Ferndale, WA 98248-8923
                                                                             +()360-543-9379
Guests:         Bradley Meryl Whaley , Amy Kristina Whaley

Tour Package:     Spectacular South Africa, 09 Apr 2025 Departure
Description:      Experience a harmony of intriguing cultures, stunning wildlife, lush winelands, and elaborate history. A
                  land on the edge of the world, South Africa awaits.

Summary of Amount Due
Total Amount of Items Purchased With this Invoice                                                           $15,316.00
Less: Payments Received                                                                                      $1,396.00
Total Amount Due                                                                                            $13,920.00

Please Remit Full Payment No Later Than                                                                    09 Jan 2025




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                             Thank You for choosing Collette
                                                       Page 1 of 13
                                                                                                                    GUEST COPY
                                                                                                                  162 Middle Street
                                                                                                                Pawtucket RI 02860
                                                                                                                   1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                             http://www.gocollette.com


To Make Your Payment:
by debit or credit card:                                                          by check:
    MasterCard, Visa, American Express, Discover                                  MAKE CHECK PAYABLE TO:
ONLINE: https://reservations.gocollette.com/payment.aspx                          Collette
                                                                                  Attn: Accounts Receivable
PHONE:        1-800-852-5655                                                      162 Middle Street
                                                                                  Pawtucket RI 02860


Reservation #:         1259551                                                    To ensure proper credit, please return this page with
                                                                                  payment.




Reservation # 1259551
                                                                                       Your Travel Professional:
Date:   08 Jan 2025
                                                                                       Lori Reese
Bill To: Bradley Meryl Whaley                                                          Bellair Tours & Adventures
                                                                                       1416 Whitehorn St
          SEDRO WOOLLEY WA                                                             Ferndale, WA 98248-8923
                                                                                       +()360-543-9379

Guests:       Bradley Meryl Whaley , Amy Kristina Whaley
Travel Professional: Lori Reese

Tour Package:       Spectacular South Africa, 09 Apr 2025 Departure
Description:        Experience a harmony of intriguing cultures, stunning wildlife, lush winelands, and elaborate history. A
                    land on the edge of the world, South Africa awaits.

Details Of Items Purchased
                                                          Tour Package

Date           Description                                                       Qty      Units               Rate           Total
               Package Airfare Adult(KPRBYF) - SEA Package Airfare Adult
09 Apr 2025                                                                       2       included in Air Travel Package
               (KPRBYF) - SEA


11 Apr 2025 Spectacular South Africa Double                                       2       Adults            $6,549.00     $13,098.00


11 Apr 2025 Transportation from Airport to Hotel                                  2       included in Air Travel Package


               Package Airfare - Apr 16 2025 Spectacular South Africa (INTER1)
16 Apr 2025                                                                       2       included in Air Travel Package
               - JNB - Package ID 15377

California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                                Thank You for choosing Collette
                                                           Page 2 of 13
                                                                                                                GUEST COPY
                                                                                                              162 Middle Street
                                                                                                            Pawtucket RI 02860
                                                                                                               1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                        http://www.gocollette.com

                                                                                             Sub Total               $13,098.00

                                                      Applied Travel Savings

Date          Description                                                      Qty   Units                Rate          Total

11 Apr 2025 Air Booking Bonus Gateway ( Amy Kristina Whaley )                    1   Adult               ($150.00)     ($150.00)


11 Apr 2025 Air Booking Bonus Gateway ( Bradley Meryl Whaley )                   1   Adult               ($150.00)     ($150.00)


                                                                                             Sub Total                ($300.00)

                                                   Options, Excursions, Extras

Date          Description                                                      Qty   Units                Rate          Total
              Presold Option: Dine with a Local Family - Meals - Adult The
21 Apr 2025                                                                      2   Adults                $60.00       $120.00
              option that you have purchased may have a minimum number of
              people required in order for the option to operate.

23 Apr 2025 Transportation from Airport to Hotel                                 2   included in Options, Excursions, Extras


              Package Airfare - Apr 23 2025 3 Night Victoria Falls Post
23 Apr 2025                                                                      2   included in Air Travel Package
              Extension (EISQTR) - CPT


23 Apr 2025 3 Night Victoria Falls Post Extension (Land Only ) Double            2   Adults              $1,199.00    $2,398.00


26 Apr 2025 Transportation from Hotel to Airport                                 2   included in Options, Excursions, Extras


                                                                                             Sub Total                $2,518.00




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                                 Thank You for choosing Collette
                                                            Page 3 of 13
                                                                                                           GUEST COPY
                                                                                                         162 Middle Street
                                                                                                       Pawtucket RI 02860
                                                                                                          1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                     http://www.gocollette.com

                                                  Travel Protection Plan

Travel Protection Plan has not been purchased

All you need to know about Collette's Travel Protection Plan:

     • You can cancel your trip up until the day prior to departure for any reason and receive a full refund, minus
       the cost of the travel protection*.
     • Your refund is in cash or credited back to your credit card. It’s not a voucher or certificate.
     • You're covered on tour. If you have to stop your trip or return home early, need medical assistance or
       evacuation, suffer a baggage loss; or are delayed on tour for 12 hours or more, you're covered.
Add Travel Protection Plan to your package today. Call 1-800-852-5655 to purchase a little peace of mind.
*Certain restrictions apply.




                                                                                    Total Purchased            $15,316.00




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                             Thank You for choosing Collette
                                                        Page 4 of 13
                                                                                                            GUEST COPY
                                                                                                          162 Middle Street
                                                                                                        Pawtucket RI 02860
                                                                                                           1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                      http://www.gocollette.com

Invoice Date 08 Jan 2025                                                               Your Travel Professional:
                                                                                       Lori Reese
Reservation # 1259551                                                                  Bellair Tours & Adventures
                                                                                       1416 Whitehorn St
Vacation Package: Spectacular South Africa, 09 Apr 2025 Departure                      Ferndale, WA 98248-8923
Guests:           Bradley Meryl Whaley , Amy Kristina Whaley                           +()360-543-9379



                                                      Names for Flights



 Please Read:     Please check the spelling of each name below. It is a requirement of all airlines and governing bodies
                  that these names match exactly with the name on the guest's valid, non-expired, government issued
                  photo ID shown at the airport (including middle name, initials, etc...). Notify your Travel Professional or
                  Collette of any errors.
                Name for Flights                Passport Number
                Bradley Meryl Whaley
                Amy Kristina Whaley

                                             Flight Schedule



    Departure Date          Flight #        Airline                    Origin/Destination              Arrival Date Seats
Flight Schedule for: Bradley Meryl Whaley , Amy
Kristina Whaley
          09 Apr 25              720 Qatar Airlines         Seattle Tacoma Intl Airport (SEA)            10 Apr 25    2
           4:30 PM                   ECONOMY                to Hamad International Airport                4:50 PM
                                                            (DOH)
          11 Apr 25             1363 Qatar Airlines         Hamad International Airport (DOH)            11 Apr 25 2
           2:20 AM                   ECONOMY                to Johannesburg (JNB)                         9:50 AM
          26 Apr 25             1378 Qatar Airlines         Johannesburg (JNB) to Hamad                  27 Apr 25    2
           8:15 PM                   ECONOMY                International Airport (DOH)                   5:35 AM
          27 Apr 25              719 Qatar Airlines         Hamad International Airport (DOH)            27 Apr 25    2
           8:05 AM                   ECONOMY                to Seattle Tacoma Intl Airport               12:30 PM
                                                            (SEA)
Flight Schedule for: Bradley Meryl Whaley , Amy
Kristina Whaley
          16 Apr 25                 0 Any Airline           Johannesburg (JNB) to George                 16 Apr 25    2
          12:00 AM                                          Airport (GRJ)                                12:00 AM


California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                             Thank You for choosing Collette
                                                        Page 5 of 13
                                                                                                         GUEST COPY
                                                                                                       162 Middle Street
                                                                                                     Pawtucket RI 02860
                                                                                                        1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                    http://www.gocollette.com

Flight Schedule for: Bradley Meryl Whaley , Amy
Kristina Whaley
          23 Apr 25             390 Airlink                Cape Town (CPT) to Victoria Falls          23 Apr 25   2
           9:45 AM                  ECONOMY                (VFA)                                      12:40 PM
          26 Apr 25             495 Airlink                Victoria Falls (VFA) to                    26 Apr 25   2
           2:00 PM                  ECONOMY                Johannesburg (JNB)                          3:45 PM

For baggage allowances and information go to: https://reservations.gocollette.com/baggage.aspx

Data Protection Notice: Your personal data will be processed in accordance with the applicable carrier’s privacy policy
and, if your booking is made via a reservation system provider (GDS), with its privacy policy. These are available at
http://www.iatatravelcenter.com/privacy or from the carrier or GDS directly. You should read this documentation, which
applies to your booking and specifies, for example, how your personal data is collected, stored, used, disclosed and
transferred.




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                            Thank You for choosing Collette
                                                       Page 6 of 13
                                                                                                                GUEST COPY
                                                                                                              162 Middle Street
                                                                                                            Pawtucket RI 02860
                                                                                                               1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                          http://www.gocollette.com

Invoice Date 08 Jan 2025                                                                 Your Travel Professional:
                                                                                         Lori Reese
Reservation # 1259551                                                                    Bellair Tours & Adventures
                                                                                         1416 Whitehorn St
Vacation Package: Spectacular South Africa, 09 Apr 2025 Departure                        Ferndale, WA 98248-8923
Guests:           Bradley Meryl Whaley , Amy Kristina Whaley                             +()360-543-9379



Critical Information
The following information is CRITICAL regarding your package: Spectacular South Africa.
Log in to the Gateway to manage all aspects of your tour at: http://gateway.gocollette.com.
If you have not already done so, do not forget to sign up for our Travel Loyalty program via the gateway.


                                            IMPORTANT: Pre Trip Requirement

                                                               Air


Please check the spelling of each name below. It is a requirement of all airlines and governing bodies that these
names match exactly with the name on the guest's valid, non-expired, government issued photo ID shown at the airport
(including middle name, initials, etc...). Notify your Travel Professional or Collette of any errors.
                   Name for Flights                 Passport Number
                   Bradley Meryl Whaley
                   Amy Kristina Whaley

For air-inclusive reservations, the name provided at time of booking must match your government-issued ID that will
be used during travel. Name changes are subject to penalties.

Internal flights are required in order to participate on this tour and are included in the final price, quoted at time of
booking.




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                               Thank You for choosing Collette
                                                           Page 7 of 13
                                                                                                                GUEST COPY
                                                                                                              162 Middle Street
                                                                                                            Pawtucket RI 02860
                                                                                                               1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                          http://www.gocollette.com

                                                   Government Required

Guests are responsible for procuring the necessary travel documents (visas and passports) for all countries visited. A
listing of entry requirements for each country can be seen at http://www.gocollette.com/guided-travel/faq

IDENTIFICATION
Passports and visas are required for this tour at your expense. Certain countries require a minimum of 6 months
passport validity from date of return home. You are strongly urged to contact the appropriate consulate for details.
Visit www.travel.state.gov for the U.S. State Department for the latest details about passports and visa requirements.

IMPORTANT: We recommend that our guests traveling abroad take a photocopy of their passport and applicable
visas. It should be packed separately from your actual passport and visa. We also recommend leaving a copy at
home with your emergency contact.

In South Africa, children are required to have a passport as well as additional documentation to travel with you into
and out of the country. Please consult the South African Embassy for the current specific requirements related to your
travel dates.

Important Passport Information: You must have at least 2 blank pages remaining in your passport to allow for the
entry stamp issued for South Africa. The 2 pages for South Africa MUST be facing each other. Failure to comply with
this law will result in denied boarding of your international flight. If you choose to continue on with the Victoria Falls
extension, you must have at least 2 additional blank pages remaining in your passport. If you have questions please
see your travel professional or call us.

Each traveler is responsible for proper documentation and inoculations that may be required and/or recommended to
participate on this tour. Please contact your local travel clinic or personal physician for specific details on the
destinations you are traveling to and from.

If you are traveling with children under the age of 18, South Africa requires that those children must have proper
documentation and/or consent when traveling into or out of the Republic. Please refer to
www.dha.gov.za/index.php/statements-speeches/621-advisory-new-requirements-for-children-travelling-through-south
-african-ports-of-entry-effective-1-june-2015 for the most up-to-date details on requirements. Please check directly
with the airline for the legal documentation that is required. It is the sole responsibility of the guest to procure the
proper documentation to travel and many requirements vary by airline and destination.

                                                  Air - Post Tour Extension

Air inclusive rate is valid for guests who have purchased our air package for the full tour, depending on the air
schedule selected. Rate may vary for those who have purchased their own air.

An internal flight is required in order to participate on this extension and is included in the final price, quoted at time of
booking.




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                               Thank You for choosing Collette
                                                          Page 8 of 13
                                                                                                           GUEST COPY
                                                                                                         162 Middle Street
                                                                                                       Pawtucket RI 02860
                                                                                                          1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                      http://www.gocollette.com

                                            All Other - Post Tour Extension

Fully-guided extensions are a great way to explore a new destination. Enjoy sightseeing and local experiences led
by a Tour Manager or local expert.

Extensions not purchased at time of deposit are subject to availability and applicable charges at time of request.

We reserve the right to cancel this extension if a minimum of 6 passengers is not met to operate.

Malaria pills are recommended when visiting Zimbabwe and Botswana. Consult your physician 2-3 weeks prior to
departure.

Park fees (approximately $40 USD) are not included in the land price of your extension. Fees are subject to change
and are payable at time of final payment.

                                                         All Other

For guests transiting via Europe, an additional overnight flight will be required. Day rooms or overnight stays can be
arranged for a cost upon request.

Our air passengers will arrive into Johannesburg airport. All of our transfers will depart from Johannesburg airport to
your Sandton hotel.

To complete your tour, we include roundtrip airport-to-hotel transfers when purchasing our airfare with your tour. If you
have arranged for your own air, we are pleased to provide you the option of purchasing these transfers. Please note
that all transfers will leave at pre-scheduled times.

Reservations are subject to availability and will be finalized and confirmed upon receipt of a $ 1396 by the deposit due
date.Payment constitutes full understanding and acceptance of our cancellation policy, terms and conditions as
outlined in our brochure.

                                     Government Required - Post Tour Extension

For this extension, you must have at least 2 additional blank pages remaining in your passport. A visa is required for
Zimbabwe at an approximate cost of $30 USD. A multiple-entry visa is required if you wish to purchase the optional
Chobe day trip. Visa cost is approximately $45 USD. Passports must have an additional 2 blank pages for the visa to
be placed. The visa may be purchased upon arrival, payable in local currency only. Payments at Ports of Entry for
visa can be done in foreign currency. Rates are approximate and can be changed at any time based on governing
authority.

                                                       Travel Well

Should you have any further questions, for faster service, please contact us at customercare@collette.com and
provide your name, booking number and phone number
To see the status of your tour, visit https://reservations.gocollette.com/tour-status
Collette has taken ever proactive measure to ensure you have the best experience for your health and well-being.
Please visit the following link to see what we are doing pre, on and post tour. https://www.gocollette.com/travelingwell



California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                             Thank You for choosing Collette
                                                        Page 9 of 13
                                                                                                        GUEST COPY
                                                                                                      162 Middle Street
                                                                                                    Pawtucket RI 02860
                                                                                                       1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                  http://www.gocollette.com

                                                Terms And Conditions
Terms and Conditions can be found at http://www.gocollette.com/about-collette/terms-and-conditions . If unable to
access, please see brochure or contact us at 1-800-852-5655 to have a copy mailed to you.




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                            Thank You for choosing Collette
                                                      Page 10 of 13
                                                                                                                                    GUEST COPY
                                                                                                                                  162 Middle Street
                                                                                                                                Pawtucket RI 02860
                                                                                                                                   1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                                             http://www.gocollette.com

Invoice Date 08 Jan 2025                                                                                 Your Travel Professional:
                                                                                                         Lori Reese
Reservation # 1259551                                                                                    Bellair Tours & Adventures
                                                                                                         1416 Whitehorn St
Vacation Package: Spectacular South Africa, 09 Apr 2025 Departure                                        Ferndale, WA 98248-8923
Guests:           Bradley Meryl Whaley , Amy Kristina Whaley                                             +()360-543-9379



The following optional excursions and options are available for purchase from your travel professional.
Please note: the suggested options listed below are the only ones approved and authorized. If you chose to participate in any other activity or option
not listed; you bear the sole responsibility.

ADVANCE OR ON TOUR PURCHASE AVAILABLE
Option Name                                                                                                                   Rate Per Person

  Dine with a Local Family (Monday, April 21, 2025-Cape Town )                                                                    $ 60.00

  Cape Town’s culture and traditions come to light during dinner with a local family. You are in for a
  special treat during this rare opportunity to join a family in their home for a home-cooked meal
  and friendly conversation. Make new friends in a comfortable setting as you savor the local
  flavors and sip a glass of wine. Share a laugh and stories of life from your home country as you
  learn about your hosts’ experiences growing up in South Africa and life in Cape Town today. Take
  advantage of this once-in-a-lifetime opportunity to truly get to know the people of Cape Town and
  experience their welcoming hospitality first hand.


  Duration: approximately 3 hour(s).
  Your transportation is included.
  Minimum of 2 guests are required.

  Dinner Over the Gorge (Thursday, April 24, 2025-Victoria Falls )                                                                $ 85.00

  Settle in for a dinner you’ll never forget, when you dine at the Lookout Café in Victoria Falls.
  Perched 400 feet above the swirling rapids of the Zambezi River, this incredible restaurant offers
  an unparalleled view of the Batoka Gorge. In the background, the iconic Victoria Falls Bridge can
  be seen arching over the Gorge, giving the picturesque scene an incredibly grand scale. But the
  view isn’t the only thing to love about the Lookout Café – the restaurant serves up a fresh menu
  of unique and delicious faire. You’ll be dining on local specialties while looking out over the
  stunning gorge and falls.


  Duration: approximately 2.5 hour(s).
  Your transportation is not included.
  Minimum of 2 guests are required.

California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                                        Thank You for choosing Collette
                                                                    Page 11 of 13
                                                                                                            GUEST COPY
                                                                                                          162 Middle Street
                                                                                                        Pawtucket RI 02860
                                                                                                           1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                      http://www.gocollette.com

ADVANCE OR ON TOUR PURCHASE AVAILABLE
Option Name                                                                                            Rate Per Person

 Chobe Day Trip, Botswana - African Leisure Travel Mauritius (Friday, April 25, 2025-                    $ 199.00
 Victoria Falls )
 Depart this morning for a full day adventure into Botswana to Chobe National Park. Known for its
 teeming wildlife, forests, marshy swamplands and sandy, rocky outcropping, Chobe offers an
 outstanding opportunity to see wildlife by land and river! Upon arrival, enjoy a fantastic cruise
 along the Chobe River to search by water. With the opportunity to spot everything from bird life
 to the Big 5, you want to have your camera ready! Enjoy lunch along the banks of the river
 before entering Chobe National Park in your open-air safari vehicle to search for wildlife on land.
 Return in the early evening to Victoria Falls.
 This option must be purchased a minimum of 7 days prior to arrival in Victoria Falls to ensure
 availability. GUESTS MUST PURCHASE A MULTIPLE ENTRY VISA FOR ZIMBABWE IN
 ORDER TO PARTICIPATE IN THIS OPTION.
 Please note: this option includes the Chobe National Park fee of $15 USD at time of printing.
 Should the fee increase, you will be responsible to pay the additional costs.
 You must be physically able to enter a boat from the floating dock to participate in the game
 drive on the Chobe River. The afternoon game drive in Chobe National Park is operated by a
 4x4 open-air safari vehicle and you must be physically able to climb into the rear of the vehicle,
 as doors do not open.
 Duration: approximately 8 hour(s).
 Your transportation is included.
 Minimum of 2 guests are required.
 This option must be purchased a minimum of 7 days prior to arrival in Victoria Falls to ensure
 availability. GUESTS MUST PURCHASE A MULTIPLE ENTRY VISA FOR ZIMBABWE IN
 ORDER TO PARTICIPATE IN THIS OPTION.




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                            Thank You for choosing Collette
                                                       Page 12 of 13
                                                                                                             GUEST COPY
                                                                                                           162 Middle Street
                                                                                                         Pawtucket RI 02860
                                                                                                            1-800-852-5655

Gateway Login: http://gateway.gocollette.com                                                    http://www.gocollette.com



Reservation # 1259551
Date:   08 Jan 2025                                                             Billing for these Guests
                                                                                First name    Middle Name     Last Name
                                                                                Bradley       Meryl           Whaley
Bill To: Bradley Meryl Whaley                                                   Amy           Kristina        Whaley
                                                                                Total Guests on this bill              2
         SEDRO WOOLLEY WA
                                                                                Total Guests in Party                  2

Tour Package:     Spectacular South Africa, 09 Apr 2025 Departure



Detailed Payments
Payments Received to Date:
 11 Apr 2024     Credit Card Payment Bradley Whaley                           $698.00
 11 Apr 2024     Credit Card Payment Amy Whaley                               $698.00

 Payments Received                                                       $1,396.00




California Sellers of Travel Number 2006766-20
Nevada Sellers of Travel Registration Number 2003-0279
State Of Washington Unified Business ID Number 601220855


                                            Thank You for choosing Collette
                                                      Page 13 of 13
